                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:20-CV-415-FDW-DCK

 JEANNE MOTON HESPRICH,                                )
                                                       )
                Plaintiff,                             )
                                                       )
    v.                                                 )         ORDER
                                                       )
 BARD PERIPHERAL VASCULAR, INC.                        )
 and C.R. BARD, INC.,                                  )
                                                       )
                Defendants.                            )
                                                       )


         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 8) filed by Whitney Butcher, concerning Stuart L. Goldenberg,

on September 25, 2020. Stuart L. Goldenberg seeks to appear as counsel pro hac vice for Plaintiff.

Upon review and consideration of the motion, which was accompanied by submission of the

necessary fee and information, the Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 8) is GRANTED. Stuart L.

Goldenberg is hereby admitted pro hac vice to represent Plaintiff.


                                    Signed: September 25, 2020




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